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             EXHIBIT
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                JONATHAN MOORE
                JONATHAN MOORE
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Dear honorable judge,

I hope you are well.

I am writing to you today in regards to the
sentencing of my father James Moore.

I write to you today to appeal to your
compassionate side in the hope that you
will use your best judgement in your
sentencing decision for our father.

I hope in these few short paragraphs I am
able to illustrate how essential it is that he
is given a fair trial and how he is not a
threat to any member of society in any way.

Jim Moore is a loving and caring man who
has been able to guide me through difficult
times and the greatest of hardships. He
helped tutor me through school, he
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encouraged me to follow my passions,
helped me find my feet in my career and
he guided me as best he could throughout
his and my life. He has always been
supportive of my decisions and has
always wanted what was best for me. One
of the most important things he ever did
for me was reinforce the idea that I am
capable of anything, can achieve my
dreams and that understanding and
helping others is how to get the most out
of life. You can only receive value when
you add value to others. The more people
you can benefit, the more you're able to
benefit yourself. He shaped how I think
and who I am as a person, always telling
me to strive for justice and morality. I
couldnt possibly explain how much he has
actually helped me or express how grateful
I am to have him as my father.
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When I was bullied in school he wrote to
the local council (our local government) to
have me relocated. The injuries I sustained
from bullies at school were extensive and
he was deeply concerned. I believe without
his help to relocate me, I could've suffered
even more serious injuries.

My dad never handed things to us, he
made us work for them. He taught us good
values and gave us all a strong work ethic.
His entrepreneurialism paved the way for
more out side of the box ways of thinking
and he always encouraged us to push
ourselves to be better people. "To achieve
great things you must first become great"
was something he used to say to us. He
was always focused on personal
development, trying to better himself. He
listened to self help audio books in the car
between meetings so that he didn't waste
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any time. He tried to absorb as much
knowledge as he could at all times to gain
a better understanding of the world around
him and share that knowledge with others
so they could apply it themselves. He
helped hundreds, if not, thousands of
people radically transform their lives for
the better.

My dad made himself solely responsible
for our entire family. My mother already
had 3 kids when my parents met and my
father put a roof over all of our heads, kept
us all in school and did his best to provide
for everyone in abundance.

He is the reason that I've experienced so
much in life. He did everything, from taking
me to school in the morning to taking me
fishing for the first time, taught me how to
ride a bike, taught me how to drive, put me
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in self defence classes, took me on safari,
skiing, scuba diving, travelling all over the
world, in a private jet, in a helicopter, the
list goes on and on. He always tried to be
present and still does. He would always
make time for us. This is a man who
worked 25 hours a day and 8 days a week
and he still made time for his friends, his
community, his family and most of all his
kids.

Dad didn't always have money. I remember
in my younger years dad being broke, but
even then he would go the extra mile to
provide for such a big family and with such
little money at the time. He used to go to
the supermarket late at night so he was
able to buy the discounted produce and
then he would freeze it so it wouldn't go
bad and we would have something to eat.
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Dad was a big believer in helping others
and giving to charity. He wanted to help
people and I remember him taking us to a
charity football match with a bunch of
celebrities including ex professional
football players where he also participated
on the field and donated to the cause.

Jim Moore is compassionate to animals.
We always had pets growing up and we
were taught to love, respect, take care of
and train our animals properly. Dad even
got various dog trainers in to teach us the
correct way to handle and train puppies.

The last time I saw my dad was in
September 2018. I get to speak to him on
the phone sometimes, we have email and
during lockdown we were able to write
each other letters, but it's very difficult
being so far apart from each other. He was
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able to send us a couple photos of himself
during this time and that was really nice to
see his face. My brother was able to video
call him but I regretfully missed the
opportunity. I'd just like to be able to see
him in some way as he's such a huge part
of my life and enriches the life's of
everyone around him.

His incarceration whilst waiting for
sentencing has been an incredibly difficult
period. There were obviously times where
we had no contact. Even though there have
been so many complications with
communication my father has always tried
his best to help us how ever he can. As
people we all experience unique problems
throughout our lives. He tries his best to
mentor us but there's only so much we can
all do.
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My father isn't a violent man and has never
been convicted of any violent crimes. He
doesn't believe in using violence or
aggression to resolve problems.

He truly is a rock and a figurehead in our
family and it is almost impossible for me
to explain how important it is to us that
one day he returns home to us safely.

I sincerely appreciate you taking the time
to read my letter. I hope it is received well
and I am able to contribute towards
building an accurate picture of my father.

Thank you again.

Yours faithfully,

Jonathan Moore.
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             CHRISTOPHER MOORE
             CHRISTOPHER MOORE
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Dear Judge

I am writing to you today in order to give
some insight into the relationship I have
with my father.

James Moore has been and still is the
biggest and best role model in my life.
Growing up we moved a lot, meaning there
wasn't an awful lot of consistency to cling
on to. The one thing that really stayed true
was that we could rely on our father for
anything. From an incredibly early age I
saw my father raising and bettering the
lives of six children, three of whom (who
he fed, sheltered, put through school,
included in family holidays and offered
support and guidance to) were not even
his children. Being the kind and
compassionate man that he is, he raised
the other three as if they were his own
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without ever alienating anybody or
displaying favouritism. These amazing
acts of fatherhood continued even after
my youngest brother was born, bringing us
up to seven!

My father has not just touched the lives of
our family but countless others, this was
constantly displayed by the fact that
anywhere and everywhere you go with my
father, he is recognised and welcomed
with open arms. This is not limited to our
home country, England, but has been
experienced all over the world. With people
stopping us in every airport we have been
through (and thanks to my father that is
many), it has been easy to see the vast
number of lives my father has touched.

Even before the divorce, providing for such
a large family made making time to spend
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with us difficult. But determined to be
present in his children's lives, my father
used to work tirelessly through the night
simply so that he had time to take us to
school in the morning and spend as long
as possible with us afterwards.


The attempts to bring the family together
didn't stop with the immediate family,
saving my auntie's house (my mother's
sister) by helping with the mortgage when
he was able and housing my mother's
other sister, along with her husband and
three young children, when he was not able
to be as financially supportive. That makes
a house of nine children and four adults
that he provided for during one of the
hardest times of our collectivr lives.
Growing up my my father never stopped
bringing the family together. When his
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brother's battle with leukaemia was taking
a turn for the worst my father insisted on
making memories for us to cherish by
bringing us (his children), his brother and
brother's wife along with their children,
partners of their children AND grand
children to Spain. Where my father
provided activities, sustenance and
bonding time with family members we
may have never had the opportunity to
connect with otherwise.

This determination to be present in our
lives was apparent even before I was born.
My older brother Jonathan was due mid
February 1991, so when my father got the
call to say my mother was in labour in
January, he cancelled the rest of his
business trip and flew home that same day
on a Concorde to try and make the birth of
my brother.
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My father has worked abroad most of my
our lives but that never stopped him from
trying to see us. During the divorce,
whenever he was given the opportunity he
would fly back to England and live in the
home he kept to ensure he could be with
us at a moment's notice and when he was
not able to come back, he always offered
to fly us to him at whatever cost.

As my biggest source of inspiration,
comfort and confidence, my father has
been the biggest influence on my life and
who I have become today. He has shaped
the way I see and treat others, taught me
that no matter what happens, so long as
you are honest, true to yourself and treat
others with the kindness and compassion
with which you wish to be treated, all else
should fall into place.
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I deeply regret how long it has been since I
saw my father and wish for nothing more
than to see him again soon. It was truly an
elating moment when I got to see him on
video call and would be enormously
grateful to be able to again.

I trust that whatever decision you make
will be carefully analysed and just. All I
hope is that I was able to shed some light
on what a truly inspirational, remarkable
and generous person my father is and to
express deeply my need to see him again.

Thank you for your time

Christopher Moore
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                  WILLIAM MOORE
                  WILLIAM MOORE
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August 16, 2021



Dear Judge,



My name is William James Bernard George Moore, the youngest son of James Moore.

I am writing to you today to describe to you how I see my dad, how important he is and
has been to me, and how important he has been in the lives of many people. I would
also like to explain the hurdles we have encountered in seeing each other.

James Moore is an awe-inspiring person. He is someone I am proud to call my dad. I
have had the pleasure of spending a great deal of my brief 22 years of life with James
Moore, and all I could wish for is more time.

My dad is a loving, caring and compassionate family man. He loves him family beyond
belief and has never faltered in making us aware. My childhood is full of memories of
him doing everything he can to give his family a great life and great experiences. When
my uncle Bob was suffering from cancer and he thought that he didn't have much time
left, my dad knew he had to do everything he could to provide a great quality of life for
my uncle and memories that would last a lifetime for the rest of the family. The last few
summers of my uncle's life were filled to the brim with joy and family fun in the sun in
Spain. My dad took his whole side of the family and treated them to a holiday every
summer (cousins, uncles, second cousins); they were the best summers of my life and I
don't think any of us will ever forget them.

I have met people all over the world that my dad has had a positive impact on. This may
sound strange or exaggerated, but we would meet people in all sorts of places that had
met my dad. People who had worked for him, learned from him, partaken in one of his
courses, or simply been touched by him in some way in their life. We have met people
on/in planes, fishing boats, restaurants, resorts, the lot... I remember more than one
person who had said that my dad helped them build their own business; that they had
worked for my dad and he taught them things to build their own business and be
successful on their own. These people that we met almost always thanked my dad or
showed some form of gratitude for what he had done for them or what he had been to
them. My dad is very well travelled and has lived & worked all over the world; even
knowing this, all of these encounters came as a huge shock to me. I was so blown away
every time that we met someone because I couldn't believe that my dad had made such



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an impression on these people that they remembered him 5, 10 or 20 years afterwards.
My dad is far from a celebrity and he would not be interested in this status, but he has
had made a very positive difference in many people's lives.




My dad is a man of his word and a man of good morals. He has worked hard to make
sure that I see this in him and that I try to imbue this quality in my own identity. One of
the times that he returned to the UK to visit me, he was so excited to see me that he had
forgotten to change his USD into GBP and came straight from the airport to pick me up.
We went to a kebab shop for some lunch (I think he had a craving for some greasy
British/Turkish kebab!), but when we finished the kebab, he realised that he didn't have
any British money to pay him with! He apologized profusely and the man who sold us
the kebab seemed frustrated but was calmed by my dad's promises to bring him the
money as soon as he could. His visit was so brief that he wasn't able to pay the man
back before he left the country, unfortunately. However, 6 months later my dad returned
once more and he remembered that he owed the man some money. He returned to the
store and paid the man double as a tip to apologise for not having paid on that day and
to thank him for understanding.

My dad is also a compassionate and caring man; both for people and for animals. I
couldn't count the times that we have bought food for people living in the street. I could
count the times we have saved birds together - 3 times. The first time, whilst driving we
found a magpie that was laying face up in an oil slick in the road. He stopped the car
and wrapped the magpie up in a shirt that he had in the car, and we took it home. He
washed the oil off the bird, wrapped it in a towel and placed it in a cardboard box with
some milk-soaked bread. We nursed the magpie back to health before releasing it in the
garden. A few years later I took an interest in air rifles, and one time I wanted to shoot a
pigeon. I told him I wanted to shoot a pigeon and why I thought it was okay (because
they're pests), and he told me a story about when he shot a pigeon when he had a
similar age to me at the time. He spoke emotionally about how he felt when he killed the
pigeon; he felt terrible for what he had done and told me that whilst the choice was mine
to make, I would likely feel the same as what he felt and would regret it immediately. I
was glad that he told me this story and I didn't shoot the pigeon.



For most of my life, it has been quite difficult for my dad and Ito see each other;
custody battles during my parent's long divorce meant that he was given less than 50%



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